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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                   Chapter 11

    FURIE OPERATING ALASKA, LLC, et al.,1 Case No. 19-11781 (LSS)

                                                             (Jointly Administered)
                              Debtors.
                                                             Re: Docket Nos. 843 & 865

                  FINAL DECREE AND ORDER (I) CLOSING CERTAIN CASES
                     AND (II) AMENDING CAPTION OF REMAINING CASE

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors-in-possession

(collectively, the “Debtors”), pursuant to Bankruptcy Code section 350, Bankruptcy Rule 3022,

and Local Rule 3022-1 for entry of a final decree and order (this “Final Decree”) (i) closing the

Closing Debtors’ bankruptcy cases (Case No. 19-11781 and Case No. 19-11783) and (ii) amending

the caption of the Remaining Debtor’s bankruptcy case (Case No. 19-11782), all as more fully set

forth in the Motion; and the Court finding that (a) the Court has jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the

United States District Court for the District of Delaware dated as of February 29, 2012; (b) this

matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2), and that the Debtors

consent to entry of a final order under Article III of the United States Constitution; and (c) notice

of the Motion was due and proper under the circumstances; and this Court having found that venue

of these Chapter 11 Cases and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408




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 The Debtors, together with the last four digits of each Debtor’s federal tax identification number, are: Furie Operating
Alaska, LLC (8721); Cornucopia Oil & Gas Company, LLC (9914); and Corsair Oil & Gas LLC (8012). The location
of the Debtors’ corporate headquarters and the service address for all Debtors is 188 W. Northern Lights Blvd. Suite
620, Anchorage, Alaska 99503.
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    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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and 1409; and it appearing that proper and adequate notice of the Motion has been given and that

no other or further notice is necessary; and this Court having reviewed the Motion and having

determined that the legal and factual bases set forth in the Motion establish just cause for the relief

granted herein; and any objections to the relief requested herein having been withdrawn or

overruled on the merits; and after due deliberation thereon and good and sufficient cause appearing

therefor,

       IT IS HEREBY ORDERED THAT:

       1.      The Motion is GRANTED as set forth herein.

       2.      The Chapter 11 Cases of Furie Operating Alaska, LLC (Case No. 19-11781) and

Corsair Oil & Gas LLC (Case No. 19-11783) (collectively, the “Closed Cases”) are hereby

CLOSED, effective and enforceable upon the later of, (a) the entry of this Final Decree and (b) the

occurrence of the Effective Date, without prejudice to the rights of the Closing Debtors or any

other party in interest to seek to reopen such cases for good cause shown.

       3.      Notwithstanding anything to the contrary in this Final Decree, all of the terms and

conditions of this Final Decree are subject to the occurrence of the Effective Date and the transfer

of all Litigation Trust Assets to the Litigation Trust, which shall be conclusively and finally

evidenced by the Closing Debtors’ filing of a notice of the Effective Date on the docket as set forth

in the Plan.

       4.      The Remaining Matters, whether or not they pertain to the Closed Cases, including

any Claims Objections with respect to claims against the Closing Debtors, shall be filed,

administered, and adjudicated in the Chapter 11 Case of Cornucopia Oil & Gas Company, LLC

(Case No. 19-11782) (the “Remaining Case”) or by the Litigation Trust, pursuant to the Litigation

Trust Agreement, without the need to reopen the Closing Debtors’ Chapter 11 Cases.




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       5.      Entry of this Final Decree is without prejudice to the rights of: (a) the Closing

Debtors or any party in interest to seek to reopen either of the Closed Cases for cause pursuant to

section 350(b) of the Bankruptcy Code, (b) the Closing Debtors (and/or the Litigation Trust) to, in

an appropriate non-bankruptcy forum, dispute all claims that were filed against the Closing

Debtors in the Closed Cases as contemplated by the Plan and the Confirmation Order, or (c) the

Litigation Trust to bring and pursue claims, causes of action, or otherwise seek relief in connection

with the Litigation Trust Assets.

       6.      Within thirty (30) days after entry of this Order, the Closing Debtors will provide

to the U.S. Trustee all quarterly reports not already filed, including reports for any partial quarter.

The requirement that the Closing Debtors file a final report is hereby temporarily waived with such

final report to be filed upon the closing of the Remaining Case.

       7.      All further reporting concerning the administration of the assets and liabilities of

the Closing Debtors shall occur only in the Remaining Case. A docket entry shall be made in each

of the Closed Cases substantially similar to the following:

        An order has been entered in this case directing that all further reporting concerning
        the administration of the assets and liabilities in this case will occur only in the case
        of Cornucopia Oil & Gas Company, LLC, Case No. 19-11782. The docket in
        Case No. 19-11782 should be consulted for all matters affecting this case.




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          8.     The Remaining Case caption shall be amended as follows:

                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


 In re:                                                    Chapter 11

 CORNUCOPIA OIL & GAS COMPANY,                             Case No. 19-11782 (LSS)
 LLC,1


                           Debtor.

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     The last four digits of the remaining Debtor’s federal tax identification number are 9914 and the location of
     the Debtor’s corporate headquarters is 188 W. Northern Lights Blvd. Suite 620, Anchorage, Alaska 99503.


          9.     The Closing Debtors shall, on or before thirty (30) days after entry of this Final

Decree, pay all fees due and payable pursuant to 28 U.S.C. § 1930(a)(6) in connection with the

Closed Cases. Entry of this Final Decree is without prejudice to the rights of the U.S. Trustee to

reopen the Closed Cases to seek appropriate relief in the event of an unresolved dispute over the

payment of fees pursuant to 28 U.S.C. § 1930(a)(6).

          10.    The Debtors shall not be obligated to pay quarterly fees pursuant to 28 U.S.C.

§ 1930(a) with respect to the Closed Cases for any disbursement made in their cases after the date

of the entry of this Final Decree.

          11.    Notwithstanding anything to the contrary contained in the Plan, any failure of the

Closing Debtors to file an objection to any claim in the Closed Cases shall not constitute allowance

of the claim and shall not result in such claim being deemed Allowed (as defined in the Plan)

against any Closing Debtor. Any objections to claims against or interests in the Closing Debtors

may be filed, administered, and adjudicated in the Remaining Case including, without limitation,

by the Litigation Trust to the extent applicable.




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       12.     Notwithstanding the relief granted in this Final Decree and any action taken

pursuant to such relief, nothing in this Final Decree shall be deemed: (a) an admission as to the

amount of, basis for, or validity of any claim against the Debtors under the Bankruptcy Code or

other applicable nonbankruptcy law; (b) a waiver of the rights of the Closing Debtors (or the

Litigation Trust), or any other parties in interest to dispute any claim on any grounds; (c) a promise

or requirement to pay any prepetition claim; (d) an assumption, adoption, or rejection of any

agreement, contract, or lease under section 365 of the Bankruptcy Code; (e) an admission as to the

validity, enforceability, or perfection of any lien on, security interest in, or other encumbrance on

property of the Debtors’ estates; (f) a waiver of any claims or causes of action held by the Closing

Debtors which may exist against any entity; or (g) a waiver or limitation of the rights of the

Debtors, or any other parties in interest under the Bankruptcy Code or any other applicable law.

       13.     The Debtors and their claims and noticing agent are authorized to take all actions

necessary to effectuate the relief granted pursuant to this Final Decree.




                                                      LAURIE SELBER SILVERSTEIN
      Dated: July 1st, 2020                           UNITED STATES BANKRUPTCY JUDGE
      Wilmington, Delaware
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